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               IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TEXAS
                               Referral Order RG‐72‐1
                   Civil Actions Assigned to Judge Rodney Gilstrap

Pursuant to 28 U.S.C. §636 and Local Rule CV‐72, it is ORDERED:

CASES REFERRED:
1. 50% of all civil actions filed in the Marshall Division that are assigned to the undersigned
District Judge are hereby referred to U.S. Magistrate Judge Roy Payne for all pretrial
proceedings.

2. 40% of all civil actions filed in the Texarkana Division that are assigned to the undersigned
District Judge are hereby referred to U.S. Magistrate judge Caroline Craven for all pretrial
proceedings.

3. 60% of all civil actions filed in the Tyler Division that are assigned to the undersigned District
Judge are hereby referred to U.S. Magistrate Judges John Love and Nicole Mitchell. Half of
these referred cases will be randomly assigned to Judge Love, and the other half will be
randomly assigned to Judge Mitchell for all pretrial proceedings.

PRETRIAL PROCEEDINGS:
4. The magistrate judges listed above will handle all pretrial proceedings in cases referred under
Paragraphs 1 through 3. This shall include:
        a. To hear and determine all matters within the magistrate judge’s dispositive jurisdiction;
        b. To proceed in accordance with 28 U.S.C. §636(b)(1)(B) and (C) concerning matters
excepted from the magistrate judge’s dispositive jurisdiction under 28 U.S.C. §636(b)(1)(A); and
        c. After the magistrate judge has conducted the pretrial conference, in those cases in
which the parties have not consented to trial before the magistrate judge, the magistrate judge
shall issue a report to the undersigned indicating that the case is ready for jury selection and trial.
Upon receipt of the report, the referral under Paragraphs 1 through 3 shall be withdrawn, and the
case shall be returned to the undersigned for all further proceedings and entry of judgment

CONSENT:
5. Upon receipt of signed consent forms by all parties, the case shall be reassigned to the
magistrate judge, who will conduct all proceedings, including jury and non‐jury trials and order
the entry of judgment.


REFERRAL PROCEDURE:
6. In the event of recusal or other disqualification of the magistrate judge in a case referred and
assigned under this order, the case shall return automatically to the docket of the undersigned,
subject to further orders of the court.


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7. Case referrals pursuant to Paragraphs 1 through 3, case reassignments under Paragraph 5, and
withdrawals of referrals under Paragraphs 4 and 6 shall be effected automatically under this
  .
order. Absent special circumstances, case‐specific orders of reference, reassignment, and
withdrawals shall not be entered.

8. This order does not affect General Orders 05‐4, 05‐5, 05‐6 and 05‐7 or other established
procedures for referral to magistrate judges of special category cases (e.g., preliminary motions
to proceed in forma pauperis and for appointment of counsel in Title VII cases, prisoner cases,
matters on the miscellaneous docket, etc.)

9. Nothing herein shall preclude reference of additional matters to the magistrate judge or the
withdrawal of references in cases subject to this order whenever appropriate.


     SIGNED this 19th day of December, 2011.
    So ORDERED and SIGNED this 7th day of October, 2016.




                                                      ____________________________________
                                                      RODNEY GILSTRAP
                                                      UNITED STATES DISTRICT JUDGE




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